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November 20, 2020

The Hon. Katharine H. Parker
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, NY 10007

Re:    Nichols v. Noom, Case No. 20-cv-3677 (LGS) (KHP): Joint Letter Re: Request for
       Extension

Dear Judge Parker:

We write on behalf of Defendants Noom, Inc. and Artem Petakov (“Noom”) and Plaintiffs and the
proposed class in accordance with your Court Order, ECF No. 94 to request a brief extension of
time from November 24, 2020 to December 3, 2020 to file the chart reflecting outstanding disputes
regarding Plaintiffs’ Amended Requests for Production (“RFP chart”).

During the deposition of Noom employee John Riccardi on November 18, 2020, Plaintiffs’ counsel
identified multiple documents and document categories that Plaintiffs believe may be relevant and
sought production of those documents and document categories on the deposition record based on
Mr. Riccardi’s testimony. While Noom reserves the right to object to these additional document
demands, Plaintiffs are in the process of addressing some of these documents and document
categories in the RFP chart that they had previously sent to Noom on November 17, 2020 in
accordance with the Court’s instructions. Plaintiffs will be ready to send a revised RFP chart to
Noom by November 23, 2020. Noom will then, consistent with the Court’s Order, fill in a chart
column clarifying its position and the Parties will be in a position to submit the RFP chart to the
Court on December 3, 2020.

Accordingly, the Parties respectfully request that the Court permit them a brief extension until
December 3, 2020 to submit the RFP chart.

The Parties thank the Court for its consideration.




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Sincerely,


/s/ Aarti Reddy
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/s/ J. Burkett McInturff
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